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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,


        v.
                                                          Criminal Action No. PX-19-0181
 RONDELL HENRY,

        Defendant.

                              PRETRIAL SCHEDULING ORDER

        For the reasons stated during the today’s status conference, and with agreement of the
parties, the Court issues the following pretrial deadlines:

       September 13, 2019                    Defendant to supplement/add motions to
                                             suppress and other pretrial motions

       October 4, 2019                       Government’s Omnibus Response

       October 18, 2019                      Defendant’s Reply

       November 1, 2019 at 11:00 a.m.        Suppression Hearing




       Dated: July 29, 2019                                      /S/
                                                    Paula Xinis
                                                    United States District Judge
